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                    8                                UNITED STATES DISTRICT COURT
                    9                              CENTRAL DISTRICT OF CALIFORNIA
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               11       GERALD HOFFARTH, an individual,                  Case No. SACV11-00336-R(RZX)
                        et al.,
               12                                                        ORDER DISMISSING
                                             Plaintiffs,                 PLAINTIFFS’ FIRST AMENDED
               13                                                        COMPLAINT
                        v.
               14                                                        Date:       August 15, 2011
                        DIVERSIFIED LENDING GROUP,                       Time:       10:00 a.m.
               15       INC., a California corporation, et al.,          Dept.       8
                                                                         Judge:      Hon. Manuel L. Real
               16                            Defendants.                 Trial Date: None Set
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D RINKER B IDDLE &
    R EATH LLP          [PROPOSED] ORDER DISMISSING PLAINTIFFS’ FIRST
 ATTORNEYS AT LAW       AMENDED COMPLAINT
                                                                                       CASE NO. SACV11-00336-R-RZX
   SAN FRANCISCO
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                    1          On Monday, August 22, 2011, at 10:00 a.m., the Motion of Defendant
                    2   Jackson National Life Insurance Company (“Jackson”) to Dismiss Plaintiffs’ First
                    3   Amended Complaint (the “Motion”) came regularly for hearing in the above-
                    4   entitled Court. The Motion requested dismissal of all of the claims asserted against
                    5   Jackson in Plaintiffs’ First Amended Complaint (the “Complaint”), including the
                    6   following causes of action: fraud (Claim 1); negligent misrepresentation, and aiding
                    7   and abetting negligent misrepresentation(Claim 2); negligence (Claim 3); aiding
                    8   and abetting fraud (Claim 4); breach of fiduciary duty, and aiding and abetting
                    9   breach of fiduciary duty (Claim 5); breach of the insurance guarantee contract
               10       (Claim 6); violation of Cal. Corp. Code § 25110 (Claim 7); violation of Cal. Corp.
               11       Code § 25401 (Claim 8); holder’s action (Claim 9); aiding and abetting violation of
               12       Cal. Bus. & Prof. Code § 17200 et seq. (Claim 10); aiding and abetting conversion
               13       (Claim 11); financial elder abuse(Claim 12); violation of Cal. Corp. Code § 25503
               14       (Claim 14); violations of RICO, 18 U.S.C. § 1962(c) (Claim 13); and unjust
               15       enrichment (Claim 15).
               16              Having considered the papers in support of and in opposition to the Motion
               17       and all other matters presented to the Court, the Court concludes that the Motion
               18       should be granted in part for the following reasons:
               19              1.      The Complaint fails to state a RICO claim because the allegations are
               20       insufficient to show or permit a reasonable inference of an “association in fact
               21       enterprise.” See Boyle v. U.S., 129 S. Ct. 2237 (2009); U.S. v. Turkette, 452 U.S.
               22       576 (1981); Odom v. Microsoft Corp., 486 F.3d 541 (9th Cir. 2007). Among other
               23       things, the facts alleged fail to show or permit a reasonable inference that there was
               24       a common purpose between any entity or individual other than between Diversified
               25       Lending Group (“DLG”) and Bruce Friedman (“Friedman”). Indeed, the facts
               26       alleged in the Complaint show that DLG and Friedman did not share a common
               27       purpose with Jackson, and that DLG had the purpose of defrauding investors,
               28       whereas Jackson had the purpose of selling insurance and annuities and simply had
D RINKER B IDDLE &
    R EATH LLP          [PROPOSED] ORDER DISMISSING PLAINTIFFS’ FIRST
 ATTORNEYS AT LAW       AMENDED COMPLAINT
                                                                        -2-        CASE NO. SACV11-00336-R-RZX
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                    1   the misfortune of having this innocent purpose and business co-opted by a Ponzi
                    2   schemer. Accordingly, the RICO claim is dismissed as to Jackson and all other
                    3   defendants, except for DLG and Friedman, for failure to plead an “associated-in-
                    4   fact enterprise.”
                    5          2.       Because actions against DLG and Friedman are stayed pursuant to this
                    6   Court’s March 10, 2009 Order in Securities Exchange Commission v. Diversified
                    7   Lending Group, Inc., et al., CV-09-1533-R (C.D. Cal.), Plaintiffs are barred from
                    8   pursuing any claims against DLG and Friedman during the pendency of the
                    9   receivership established in that case. Accordingly, Plaintiffs may not maintain any
               10       of their claims against DLG and Friedman. The RICO claim is therefore dismissed
               11       in its entirety.
               12               3.      Plaintiffs assert jurisdiction in this case based on federal question
               13       jurisdiction arising out of the RICO claim and supplemental jurisdiction as to their
               14       other claims. As a result of the dismissal of the RICO claim, this Court has
               15       discretion to retain jurisdiction over the remaining state law claims or to dismiss the
               16       claims without prejudice. See Carlsbad Technology, Inc. v. H.I.F. Bio, Inc., 129
               17       Sup. Ct. 1862 (2009). It is generally preferable for a district court to not exercise
               18       supplemental jurisdiction over pendent state law claims once federal claims have
               19       been dismissed. See Harrell v. 29th Century Insurance Company, 934 Fed.2d 203
               20       (9th Cir. 1991). Pursuant to its discretion, this Court declines to exercise
               21       jurisdiction over the remaining state law claims and dismisses those claims without
               22       prejudice.
               23               IT IS HEREBY ORDERED THAT Jackson’s Motion is GRANTED in part;
               24               IT IS HEREBY FURTHER ORDERED THAT the RICO claim (Claim 13)
               25       is dismissed with prejudice as to Jackson and all other defendants except DLG and
               26       Friedman, and dismissed as to DLG and Friedman without prejudice but barred
               27       pursuant to the Court’s March 10, 2009 Order in Securities Exchange Commission
               28       v. Diversified Lending Group, Inc., et al., CV-09-1533-R (C.D. Cal.);
D RINKER B IDDLE &
    R EATH LLP           [PROPOSED] ORDER DISMISSING PLAINTIFFS’ FIRST
 ATTORNEYS AT LAW        AMENDED COMPLAINT
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                    1          IT IS HEREBY FURTHER ORDERED THAT all remaining claims under
                    2   state law are dismissed without prejudice based on the Court’s decision not to
                    3   exercise jurisdiction over these claims, including specifically the following: fraud
                    4   (Claim 1); negligent misrepresentation, and aiding and abetting negligent
                    5   misrepresentation(Claim 2); negligence (Claim 3); aiding and abetting fraud (Claim
                    6   4); breach of fiduciary duty, and aiding and abetting breach of fiduciary duty
                    7   (Claim 5); breach of the insurance guarantee contract (Claim 6); violation of Cal.
                    8   Corp. Code § 25110 (Claim 7); violation of Cal. Corp. Code § 25401 (Claim 8);
                    9   holder’s action (Claim 9); aiding and abetting violation of Cal. Bus. & Prof. Code §
               10       17200 et seq. (Claim 10); aiding and abetting conversion (Claim 11); financial elder
               11       abuse(Claim 12); violation of Cal. Corp. Code § 25503 (Claim 14); and unjust
               12       enrichment (Claim 15).
               13              IT IS SO ORDERED.
               14                                                             _____________________________
                                                                              Hon. Manuel L. Real
               15                                                             Judge, United States District Court
               16       Dated: August 30, 2011

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D RINKER B IDDLE &
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 ATTORNEYS AT LAW       AMENDED COMPLAINT
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